Case 1:21-cr-00161-RBW Document 164 Filed 02/16/23 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA )
)
v. ) Criminal Action No. 21-161-1 (RBW)
)
DUSTIN BYRON THOMPSON, ) FILED
)
Defendant. ) FEB 16 2023
) Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia
ORDER

Upon consideration of the defendant’s Motion for Leave to Proceed on Appeal in Forma
Pauperis, ECF No. 161, it is hereby

ORDERED that the defendant’s Motion for Leave to Proceed on Appeal in Forma
Pauperis, ECF No. 161, is GRANTED.

SO ORDERED this 16th day of February, 2023.

Lp fo vl

REGGIE B. WALTON
United States District Court Judge
